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  8                        UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10   UNITED STATES OF AMERICA ,                    CASE NO. 12CR5228 WQH
 11                                  Plaintiff,     ORDER
           vs.
 12
      BRENTON BAHADOR (1),
 13   JESSIE GONZALEZ (2),
      ERIC LEITZKE(4),
 14
                                  Defendants.
 15 HAYES, Judge:
 16         The matter before the Court is the motion to dismiss the indictment filed by
 17 Defendant Brenton Bahador (ECF No. 118), joined by Defendant Eric Leitzke (ECF
 18 No. 119) and Defendant Jessie Gonzalez (ECF No. 122).
 19                                 UNDISPUTED FACTS
 20         The arrests in this case took place on December 4, 2012 after a series of events
 21 involving Defendant Bahador and confidential informants which began in November
 22 2012.
 23         On November 16, 2012, a meeting took place with Defendant Bahador, other co-
 24 defendants, a confidential informant (CS1), and an undercover DEA agent posing as a
 25 cocaine dealer. Defendant Bahador was shown several bricks of cocaine at the meeting.
 26 At a second meeting, CS1 attempted to arrange for Defendant Bahador to trade cars and
 27 money for cocaine. Prior to a third meeting, CS1 told government agents that
 28 Defendant Bahador would pay cash and trade expensive cars for cocaine. Defendant

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  1 Bahador arrived at the meeting in a vehicle but did not bring cash. Defendant Bahador
  2 tried to interest the DEA agent in vehicles he brought to the meeting. Once the
  3 undercover DEA agent reviewed the paperwork for the two vehicles, the undercover
  4 DEA agent gave an arrest signal and Defendant Brenton Bahador and co-defendants
  5 were arrested without incident.
  6         On an unknown date in late 2012 but prior to the meetings described above, a
  7 2008 Bentley owned by Defendant Bahador had been involved in an accident which
  8 caused significant damage to the Bentley. Defendant Bahador took the Bentley to a
  9 dealership, Symbolic Motors, for repairs.
 10         On December 6, 2012, CS1, without the consent or permission of Defendant
 11 Bahador, CS1 arranged to have the 2008 Bentley towed from Symbolic Motors.
 12 Government agents were not aware of CS1's intent to take the vehicle at any time. The
 13 government agents did not authorize or participate in the alleged theft of the vehicle.
 14         On December 12, 2012, the grand jury for the United States District Court
 15 Southern District of California returned an Indictment charging Defendants Brenton
 16 Bahador, Eric Leitzke, Jessie Gonzalez, and others with conspiracy to possess cocaine
 17 with intent to distribute in violation of 21 U.S.C. §§ 841(a)(1) and 846. Defendants
 18 were arraigned and entered pleas of not guilty.
 19                         CONTENTIONS OF THE PARTIES
 20         Defendant Bahador contends that he is entitled to dismissal of the indictment on
 21 the grounds that the outrageous conduct of the Government violated his rights to due
 22 process under the Fifth Amendment to the United States Constitution. Defendant
 23 Bahador contends that the Government used CS1 to arrest him, and permitted CS1 to
 24 take his property by theft. Defendant Bahador contends that the Court should not allow
 25 the Government to proceed with this prosecution on the grounds that CS1 manipulated
 26 the Government into arresting him and then used his incarceration to steal from him.
 27         The Government asserts that the actions of CS1 were opportunistic and
 28 unacceptable but do not rise to the level of grossly shocking government conduct

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  1 necessary to support dismissal. The Government contends that the facts of this case do
  2 not amount to conduct so outrageous that due process principles would bar the
  3 Government from seeking a conviction. The Government contends that CS1 was acting
  4 without the knowledge and consent of government agents when the informant took the
  5 Bentley without permission. The Government asserts that the alleged vehicle theft by
  6 CS1 was not connected to the crimes charged against Defendant Bahador and occurred
  7 subsequent to the arrest of Defendant Bahador. The Government contends that the
  8 conduct of CS1 after the completion of the criminal conduct which lead to the arrest of
  9 Defendant Bahador does not warrant dismissal of the indictment in this case.
 10                               RULING OF THE COURT
 11         “To support a dismissal of ... [an] indictment on the grounds of outrageous
 12 government conduct, ... [the defendant] must prove that the government’s conduct was
 13 so excessive, flagrant, scandalous, intolerable, and offensive as to violate due process.”
 14 United States v. Edmonds, 103 F.3d 822, 825 (9th Cir. 1996) (internal quotations and
 15 citations omitted). In United States v. Black, 733 F.3d 294 (9th Cir. 2013), the Court
 16 of Appeals stated:
 17         Outrageous government conduct occurs when the actions of law
            enforcement officers or informants are “so outrageous that due process
 18         principles would absolutely bar the government from invoking judicial
            processes to obtain a conviction.” United States v. Russell, 411 U.S. 423,
 19         431–32, 93 S.Ct. 1637, 36 L.Ed.2d 366 (1973). Dismissing an indictment
            for outrageous government conduct, however, is “limited to extreme
 20         cases” in which the defendant can demonstrate that the government's
            conduct “violates fundamental fairness” and is “so grossly shocking and
 21         so outrageous as to violate the universal sense of justice.” Stinson, 647
            F.3d at 1209 (internal quotation marks omitted). This is an “extremely
 22         high standard.” United States v. Garza–Juarez, 992 F.2d 896, 904 (9th
            Cir.1993) (quoting United States v. Smith, 924 F.2d 889, 897 (9th
 23         Cir.1991)) (internal quotation marks omitted). Indeed, there are only two
            reported decisions in which federal appellate courts have reversed
 24         convictions under this doctrine. See United States v. Twigg, 588 F.2d 373
            (3d Cir. 1978); Greene v. United States, 454 F.2d 783 (9th Cir. 1971). See
 25         also State v. Lively, 130 Wash.2d 1, 921 P.2d 1035 (1996) (reversing drug
            conviction under state law, but relying on federal cases in finding
 26         outrageous government).
 27         There is no bright line dictating when law enforcement conduct crosses the
            line between acceptable and outrageous, so “every case must be resolved
 28         on its own particular facts.” United States v. Bogart, 783 F.2d 1428, 1438
            (9th Cir. 1986), vacated in part on other grounds sub nom. United States

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  1          v. Wingender, 790 F.2d 802 (9th Cir. 1986) (order). In assessing the
             reasonableness of various law enforcement actions and tactics, however,
  2          we have set forth ground rules that provide some guidance. For example,
             it is outrageous for government agents to “engineer[ ] and direct[ ] a
  3          criminal enterprise from start to finish,” United States v. Williams, 547
             F.3d 1187, 1199 (9th Cir. 2008) (internal quotation marks omitted), or for
  4          the government to use “excessive physical or mental coercion” to convince
             an individual to commit a crime, United States v. McClelland, 72 F.3d
  5          717, 721 (9th Cir. 1995). It is also outrageous for the government to
             generat[e] ... new crimes merely for the sake of pressing criminal charges.
  6          United States v. Emmert, 829 F.2d 805, 812 (9th Cir. 1987). It is not
             outrageous, however, to infiltrate a criminal organization, to approach
  7          individuals who are already involved in or contemplating a criminal act,
             or to provide necessary items to a conspiracy. See United States v. So, 755
  8          F.2d 1350, 1353 (9th Cir. 1985). Nor is it outrageous for the government
             to “use ‘artifice and stratagem to ferret out criminal activity.’ ” Bogart,
  9          783 F.2d at 1438 (quoting Sorrells v. United States, 287 U.S. 435, 441, 53
             S.Ct. 210, 77 L.Ed. 413 (1932)).
 10
      733 F.3d at 302.
 11
             In United States v. Mercado, 110 Fed. Appx. 19 (9th Cir. 2004), the defendant
 12
      argued that the Government engaged in outrageous conduct by allowing or failing to
 13
      prevent a paid informant from engaging in “criminal activity, including murder,
 14
      conspiracy to commit murder, assault, extortion, and drug trafficking.” 110 Fed. Appx.
 15
      at 21-22. The Court of Appeals explained that “[t]here is no evidence in the record that
 16
      the government knew of ... [the informant’s] criminal conduct, much less that it directed
 17
      or authorized any such criminal activity.” Id. at 22. The Court of Appeals “conclude[d]
 18
      that the government’s conduct was not the type of excessive, flagrant, scandalous,
 19
      intolerable and offensive conduct that warrants dismissal of the indictment.” Id.
 20
      (internal quotation and citation omitted).
 21
             In United States v. Fernandez, 388 F.3d 1199, 1238-39 (9th Cir. 2004), an
 22
      informant’s criminal conduct was not attributed to the Government where the
 23
      Government had knowledge that an informant was discussing a conspiracy to murder
 24
      a defendant. Based on the informant’s cooperation in the investigation, the Court of
 25
      Appeals concluded that the Government lacked reason to believe the informant intended
 26
      to commit the act. Id. at 1239. The Court explained that “the government was, at
 27
      worst, negligent in its handling of ... [the informant], but its conduct does not rise to the
 28
      level required for a finding of a due process violation” regarding aspects of the

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  1 informant’s illegal conduct. Id. “Due process is not violated unless the [informant’s
  2 questionable] conduct is attributable to and directed by the government. Passive
  3 tolerance ... of a private informant’s questionable conduct is less egregious than the
  4 conscious direction of government agents typically present in outrageous conduct
  5 challenges.” United States v. Barrera-Morena, 951 F.2d 1089, 1092 (9th Cir. 1991)
  6 (citation, internal alterations, and quotation marks omitted).
  7         Under the particular facts in this record, Defendant does not assert that
  8 government agents knew of informant’s alleged theft or knew of the informant’s alleged
  9 intent to effectuate Defendant’s arrest in order to commit the theft. The Court
 10 concludes that alleged theft of Defendant’s vehicle is not attributable to the Government
 11 and does not form the basis for dismissal of this indictment. See also United States v.
 12 Holler, 411 F.3d 1061, 1065-66 (9th Cir. 2005) (holding an informant’s history of
 13 misconduct, including the theft of drug money, during the government’s investigative
 14 operation was not attributable to the government and did not constitute an outrageous
 15 conduct as to violate due process.)
 16         Even if attributable to the Government, the Court concludes the alleged
 17 misconduct in this case by the confidential informant does not rise to the level required
 18 to establish outrageous government conduct supporting dismissal of the indictment. See
 19 e.g. United States v. Stenberg, 803 F.2d 422, 430–31 (9th Cir. 1986) (rejecting
 20 outrageous government conduct claim where U.S. Fish and Wildlife Service lead
 21 investigator engaged in the actual killing of protected wildlife during the undercover
 22 investigation). See also United States v. Simpson, 813 F.2d 1462, 1470 (9th Cir. 1987)
 23 (“It is unrealistic to expect law enforcement officers to ferret out criminals without the
 24 help of unsavory characters”). While CS1's conduct in this case may be used to
 25 question is credibility at trial, the alleged misconduct does not rise to the level of
 26 outrageous government conduct required for dismissal.
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  1        IT IS HEREBY ORDERED that the motion to dismiss the indictment filed by
  2 Defendant Brenton Bahador (ECF No. 118), joined by Defendant Eric Leitzke (ECF
  3 No. 119) and Defendant Jessie Gonzalez (ECF No. 122) is denied.
  4 DATED: April 17, 2014
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                                          WILLIAM Q. HAYES
  6                                       United States District Judge
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